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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                            CASE NO. 8:24-cr-276-VMC-UAM

MIGUEL FORTIER

_______________________________/

                           DEFENDANT FORTIER’S

           UNOPPOSED MOTION TO CONTINUE JURY TRIAL

      The Defendant, MIGUEL FORTIER, through undersigned counsel hereby

files this unopposed motion to continue the status conference and jury trial in this

matter. In support of such relief Defendant Fortier would allege:

1.    The Defendant was recently arraigned on this matter and entered a not

      guilty plea through undersigned counsel. Undersigned counsel was

      appointed by the Court on July 30, 2024.

2.    The Defendant moves for a continuance of the current jury trial scheduled

      on September 3, 2024, as he and undersigned counsel need additional time

      to analyze the discovery and pursue a reasonable courses of action in

      furtherance of resolving this matter without a trial.

3.    This is the first time this matter has been set for trial and the Defendant’s
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      first request for a continuance of any trial dates.

4.    Defendant Fortier consents to a filing of this motion for continuance.

5.    AUSA Carlton Gammons communicated with undersigned counsel that the

      Government does not oppose this request for continuance.

           MEMORANDUM OF LAW IN SUPPORT OF MOTION

Middle District of Florida Local Rule 3.09 generally prohibits counsel from

stipulating to a continuance of a trial term. However, Local Rule 3.09 does provide

that the district court may grant such request for good cause.

      In the United States v. Uri Ammar, Eleventh Circuit Court of Appeals Case

Number 13-12044, the Eleventh Circuit Court of Appeals ruled continuance

motions were guided language of the Speedy Trial Act and the Supreme Court of

the United States’ interpretation of that language in Zedner v. United States, 547

U.S. 489, 126 S. Ct. 1976 (2006).

      The Speedy Trial Act states a delay resulting from a continuance either by

the district court or at the request of a party is excludable from the 70-day period if

the trial court puts on the record its reasons for finding that the ends of justice are

served by the granting of a continuance outweigh the public’s and defendant’s

interests in a speedy trial. Id. Zedner makes clear that the findings must be

expressly made on the record. Additionally, Zedner held that the government and a

defendant may not simply agree to a continuance and thus waive the Act’s 70-day
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requirement without the above finding by a district court. Hence, a district court’s

finding that a continuance is justified solely because the parties agreed to the

continuance is not a proper ends of-justice finding.



                           CERTIFICATE OF SERVICE

       I hereby certify that on August 11, 2024, a copy of the foregoing motion

was filed electronically. Notice of this filing will be sent by operation of the

Court’s CM/ECF system to all parties indicated on the electronic filing receipt.

Parties may access this filing through the Court’s CM/ECF system.

Respectfully Submitted,

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